            Case:
ILND 450 (Rev.         1:19-cv-04082
               04/29/2016) Judgment in a CivilDocument
                                              Action   #: 439 Filed: 09/16/24 Page 1 of 2 PageID #:24393

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

    Marcel Brown,

    Plaintiff(s),
                                                                  Case No. 19 CV 4082
    v.                                                            Judge Lindsay C. Jenkins

    Michael Mancuso, et al.,

    Defendant(s).

                                            JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                            which      includes       pre–judgment interest.
                                       does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


              other: The Clerk is directed to enter judgment in favor of plaintiff Marcel Brown and against
defendants Micahel Mancuso and the estate of Kevin McDonald on Counts 1 and 2. Compensatory damages
are awarded in favor of Plaintiff and against the Defendants in the amount of $50,000,000. This amount is
comprised of $10,000,000 for the period of pretrial detention before Plaintiff's criminal conviction, and
$40,000,000 for the period after Plaintiff's criminal conviction. Plaintiff is also awarded punitive damages
against Defendant Mancuso only in the amount of $50,000.

This action was (check one):

         tried by a jury with Judge Lindsay C. Jenkins presiding, and the jury has rendered a verdict.
         tried by Judge         without a jury and the above decision was reached.
         decided by Judge          on a motion
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Date: 9/16/2024                            Thomas G. Bruton, Clerk of Court

                                           Kerwin Posley, Deputy Clerk
